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 8                           UNITED STATES DISTRICT COURT
 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     James Rutherford,                   ) Case No. 8:20-cv-01928-JLS(KESx)
11                                       )
                      Plaintiff(s),      ) ORDER STAYING ACTION PENDING FINAL
12                                       ) SETTLEMENT, REMOVING CASE FROM
                      v.                 ) ACTIVE CASELOAD, AND FILING OF
13                                       ) DISMISSAL
     Marshalls of CA, LLC, et al,        )
14                                       )
                      Defendant(s).      )
15                                       )
                                         )
16                                       )
                                         )
17                                       )
18
           On December 4, 2020, Plaintiff filed a Notice of Settlement
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     (Doc. 18), indicating that the case has fully settled. Based
20
     thereon, the Court hereby orders all proceedings in the case stayed
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     pending final settlement.
22
           It is further ordered that this action is removed from the
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     Court’s active caseload, subject to the right upon good cause shown
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     within thirty (30) days, to reopen the action if settlement is not
25
     consummated.
26
     ///
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     ///
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     Case 8:20-cv-01928-JLS-KES Document 19 Filed 12/07/20 Page 2 of 2 Page ID #:59




 1         The parties shall file a Stipulation of Dismissal no later than

 2   January 3, 2021. If no dismissal is filed, the Court deems the

 3   matter dismissed at that time.

 4         The Court retains full jurisdiction over this action and this

 5   order shall not prejudice any party in the action.

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 7   IT IS SO ORDERED.

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 9         DATED: December 07, 2020

10                                                JOSEPHINE L. STATON
                                                 _______________________________
                                                 HONORABLE JOSEPHINE L. STATON
11                                               UNITED STATES DISTRICT JUDGE
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